Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 1 of 13 PageID #: 1158
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 2 of 13 PageID #: 1159
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 3 of 13 PageID #: 1160
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 4 of 13 PageID #: 1161
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 5 of 13 PageID #: 1162
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 6 of 13 PageID #: 1163
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 7 of 13 PageID #: 1164
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 8 of 13 PageID #: 1165
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 9 of 13 PageID #: 1166
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 10 of 13 PageID #: 1167
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 11 of 13 PageID #: 1168
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 12 of 13 PageID #: 1169
Case 3:12-cr-00076   Document 374   Filed 10/01/14   Page 13 of 13 PageID #: 1170
